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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                    Plaintiff,                  )      8:05CR26
                                                )
                    vs.                         )      ORDER OF COURT
                                                )      TO DISMISS WITHOUT
                                                )      PREJUDICE
JOSE ANTONIO CHAVEZ-RODRIGUEZ                   )      THE INDICTMENT
                                                )      AGAINST DEFENDANT
                    Defendant.                  )      JOSE ANTONIO CHAVEZ-
                                                )      RODRIGUEZ

      This matter is before the Court on the Plaintiff’s motion for leave pursuant to

Federal Rule of Criminal Procedure 48(a) to dismiss this case as against the

Defendant, Jose Antonio Chavez-Rodriguez (Filing No. 74).

      IT IS ORDERED:

      1.     The Plaintiff’s motion for leave to dismiss this case as against the

             Defendant, Jose Antonio Chavez-Rodriguez (Filing No. 74) is granted;

             and

      2.     Leave of court is granted for the dismissal without prejudice of the

             Indictment regarding Defendant, JOSE ANTONIO CHAVEZ-

             RODRIGUEZ.

      DATED this 4th day of May, 2005.

                                         BY THE COURT:

                                         s/Laurie Smith Camp
                                         Laurie Smith Camp
                                         United States District Judge
